       Case: 3:16-cv-00699-wmc Document #: 20 Filed: 10/19/20 Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


GLORIA ABRAHAMSON,

                           Plaintiff,                            ORDER

      v.                                                     16-cvB699-wmc

ANDREW SAUL,
Commissioner of Social Security,

                           Defendant.




      On March 15, 2019, the court issued an order and judgment remanding this case

to the commissioner for further proceedings under sentence four of 42 U.S.C. ' 405(g)

pursuant to stipulation of the parties. Judgment was also entered on March 15, 2019.

Now before the court is plaintiff Gloria Abrahamson’s attorney’s petition for fees pursuant

to § 406(b)(1) in the amount of $6,559.00. (Dkt. #17.) Defendant does not object to

this motion. (Dkt. #19.)




           Fees under 42 U.S.C. ' 406

      As part of its judgment, a court may allow “a reasonable fee . . . not in excess of 25

percent of the . . . past-due benefits” awarded to the claimant. § 406(b)(1)(A). The fee

is payable “out of, and not in addition to, the amount of [the] past-due benefits.” Id.

Counsel asks the court to approve an attorney fee award in the amount of $6,559.00,

which represents 25 percent of what was awarded to plaintiff in past-due benefits. Having

considered the supporting materials filed by plaintiff's attorney, and hearing no objection




                                            1
       Case: 3:16-cv-00699-wmc Document #: 20 Filed: 10/19/20 Page 2 of 2


from plaintiff or defendant, the court will grant the motion. The fees requested by counsel

are reasonable in light of the time he and members of his firm spent on this case and the

favorable result he obtained for plaintiff while working on a contingency basis.




                                         ORDER

       IT IS ORDERED that counsel’s motion for attorney fees under 42 U.S.C.

§ 406(b)(1) in the amount of $6,559.00 (dkt. #17) is GRANTED.

       Entered this 19th day of October, 2020.

                                          BY THE COURT:

                                          /s/
                                          __________________________________
                                          WILLIAM M. CONLEY
                                          District Judge




                                             2
